            CASE 0:22-cr-00090-KMM-LIB Doc. 4 Filed 05/23/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                             Criminal No. 22-90 KMM/LIB

United States of America,

                                  Plaintiff,

v.                                                ORDER FOR APPOINTMENT
                                                  OF COUNSEL
George Deppa,

                                Defendant.


       The Court has determined that the defendant in the above matter is financially

unable to employ counsel and finds that it is in the interest of justice that counsel be

assigned.

       IT IS HEREBY ORDERED that Kurt Glaser, Attorney ID 228886, is appointed as

counsel pursuant to 18 U.S.C. § 3006A.


DATED: May 23, 2022                            s/Leo I. Brisbois
                                               Honorable Leo I. Brisbois
                                               United States Magistrate Judge
